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                                                                         FILED
                       UNITED STATES DISTRICT COURT                      JUN l8 2012
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                  CASE NO.

                      Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
GIOVANA CORONA(2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal,
    without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant ndt
                                                                     i
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

~    of the offense(s) as charged in the Indictment/Information:

     21:952 AND 960 - IMPORTATION OF A CONTROLLED SUBSTANCE


          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: JUNE 26, 2012


                                           U.S. Magistrate Judge
